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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

  ROBERT ZEIDMAN
                                                     Case No. ____________
                        PETITIONER,
                                                     NOTICE OF REMOVAL AND
            v.                                       REQUEST TO CONSOLIDATE

  LINDELL MANAGEMENT LLC,

                        RESPONDENT.



       Respondent Robert Zeidman pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, with

full reservation of all defenses, hereby removes this action pending in the District Court,

Fourth Judicial District, Hennepin County, Minnesota, Case No. 27-CV-23-7502 to the

United States District Court for the District of Minnesota and further requests that pursuant

to Federal Rule 42 this action be consolidated with the already-pending action in this court

docketed at Case No. 23-cv-01433. In support of this Notice of Removal and Request for

Consolidation, Mr. Zeidman states as follows:

Relevant Background


       1.        On May 18, 2023, Petitioner Lindell Management LLC (“Lindell”) filed a

petition to vacate an arbitration award in the District Court of Hennepin County, Minnesota

at Civil Action at 27-CV-23-7502. In accordance with 28 U.S.C §1446(a) a true and correct

copy of all pleadings, process and orders filed in the State Court Action are attached hereto

as Exhibits 1-3.

       2.        The petition to vacate names Robert Zeidman as Respondent.

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       3.       The petition seeks to vacate the Reasoned Decision and Arbitration Award

entered on April 19, 2023 by a three-member AAA arbitration panel in the case of Robert

Zeidman v. Lindell Management LLC AAA Case No. 01-21-0017-1862. (Exhibit 1,

Petition to Vacate at Ex. C).

       4.       The only sentence provided by Petitioner in support of its motion is that

“the Panel exceeded its powers.” (Exhibit 1 at ¶11).

       5.       Petitioner asks that the Hennepin County Court vacate the arbitration award

and order a rehearing as well as award Petitioner costs and disbursements incurred.

(Exhibit 1 at pp. 2-3).

       6.       Per the Petition to Vacate, Petitioner Lindell Management LLC is a

Minnesota limited liability company. (Exhibit 1 at ¶1).

       7.       Respondent Robert Zeidman is an individual residing in the State of

Nevada.


 Jurisdiction and venue requirements have been satisfied.


       8.       The United States District Court for the District of Minnesota has

jurisdiction over this matter under 28 U.S.C. § 1332(a) because there is complete diversity

of citizenship between the parties and because the amount in controversy exceeds the sum

or value of $75,000, exclusive of interest and costs. (Exhibit 1 at Exhibit C).

       9.       This action is removeable from the District Court for Hennepin County,

Minnesota pursuant to 28 U.S.C. §1441 et seq.

       10.      The case filed by Petitioner pending in the District Court of Hennepin

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County, Minnesota, at Civil Action at 27-CV-23-7502, is within the jurisdiction of the

United States District Court for the District of Minnesota. 28 U.S.C. §1441 et seq.

Respondent has satisfied procedural requirements for removal.

       11.     This Notice of Removal is timely because it is being filed within 30 days

of service of the petition to vacate upon Respondent. 28 U.S.C. §1446(b).

       12.     Concurrent with the filing of this Notice of Removal and Request to

Consolidate, Respondent has filed a Notice of Filing of Notice of Removal with the Clerk

of the District Court of Hennepin County, Minnesota, advising that he has removed this

action to the United States District Court for the District of Minnesota. 28 U.S.C. §1446(d).

       13.     In filing this Notice of Removal, Respondent explicitly does not waive any

rights, remedies, or defenses he may assert in this action.

Respondent requests consolidation with Case No. 23-cv-01433.

       14.     In addition, on May 19, 2023, Respondent Robert Zeidman filed in the

United States District Court for the District of Minnesota a petition to confirm the award,

Case No. 23-cv-01433.

       15.      Respondent Robert Zeidman therefore also requests that this action be

consolidated with Case No. 23-cv-01433 currently pending before Judge John R. Tunheim.

       16.     Undersigned counsel has conferred with counsel for Lindell Management,

LLC but has been unable to confirm whether or not Petitioner concurs with removal and

consolidation of this matter and therefore files it without consent.

       WHEREFORE, Respondent respectfully requests that the Court remove this action

from the District Court of Hennepin County, Minnesota to the United States District Court

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for the District of Minnesota and requests that this action be consolidated with the already-

pending action in this court docketed at Case No. 23-cv-01433.


Dated: June 12, 2023                       NICHOLS KASTER, PLLP

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